Case 1:18-cv-00494-WES-LDA Document 57 Filed 09/14/20 Page 1 of 4 PageID #: 3444



                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF RHODE ISLAND

  HOUSE OF BRANDS KJ PTY LTD.,
            Plaintiff,

                  v.                                           Case. No. 1:18-cv-00494-WES-LDA

  ALEX AND ANI, LLC; ALEX AND ANI
  SOUTH SEAS, LLC; and OMAR AJAJ,
  individually,
                Defendants.


                                        JOINT MOTION TO STAY


       For the reasons stated at the Court’s conference held on September 14, 2020, Plaintiff House

of Brands KJ Pty Ltd. and the remaining Defendants in the case, Alex and Ani, LLC and Alex and

Ani South Seas, LLC, hereby request that the Court stay this action until February 28, 2022. Each of

the parties reserves the right to request that the Court lift this stay prior to February 28, 2022.



Dated: September 14, 2020

                                               Respectfully submitted and agreed to,

                                               /s/ Robert G. Flanders, Jr.
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                                               Timothy K. Baldwin (#7889)
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Case 1:18-cv-00494-WES-LDA Document 57 Filed 09/14/20 Page 2 of 4 PageID #: 3445



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                                             Counsel for Defendants



                                  CERTIFICATE OF SERVICE

        I hereby certify that on September 14, 2020, a copy of the foregoing document was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the court’s electronic filing as indicated on the
Notice of Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.

                                             /s/ Robert G. Flanders, Jr.
                                             Robert G. Flanders, Jr.
WC50750
Case 1:18-cv-00494-WES-LDA Document 57 Filed 09/14/20 Page 3 of 4 PageID #: 3446



                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF RHODE ISLAND

  HOUSE OF BRANDS KJ PTY LTD.,
            Plaintiff,

                  v.                                           Case. No. 1:18-cv-00494-WES-LDA

  ALEX AND ANI, LLC; ALEX AND ANI
  SOUTH SEAS, LLC; and OMAR AJAJ,
  individually,
                Defendants.

                                 ORDER ON JOINT MOTION TO STAY

       The Court, having considered the Joint Motion to Stay, hereby makes the following ruling:

       It is HEREBY ORDERED ADJUDGED AND DECREED that this action shall be stayed

until February 28, 2022.

       It is FURTHER ORDERED ADJUDGED AND DECREED that nothing in this order shall

prevent one or more of the parties to request that the Court lift the stay in this action prior to February

28, 2022.

       IT IS SO ORDERED.

BY ORDER:                                              ENTER:



William E. Smith                                       Clerk
District Judge

Dated: September __, 2020



Agreed as to Form:

/s/ Robert G. Flanders, Jr.
Robert G. Flanders, Jr. (#1785)
Timothy K. Baldwin (#7889)
Whelan Corrente & Flanders LLP
Case 1:18-cv-00494-WES-LDA Document 57 Filed 09/14/20 Page 4 of 4 PageID #: 3447



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